           Case 08-13141-BLS        Doc 10212-2       Filed 11/11/11      Page  1 2200
                                                                             Suite of 48
                                                                              1201 Third Avenue
                                                                              Seattle, WA 98101-3045

                                                                              206.622.3150 tel
                                                                              206.757.7700 fax

                                                                              Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                  June 9, 2011
Attn: Karlene W. Goller, Esq.                                         Invoice No. 5980194
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JUNE INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:           0026175-000317
Los Angeles County Sheriff CPRA
0000001714

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
05/04/11   J. Glasser                 0.10 Correspondence with Ms. Cummins regarding timing
                                           of media amici brief
05/10/11   K. Sager                   1.50 Review/revise declaration (.3); review/revise Request
                                           for Judicial Notice (.4); review/revise SLAPP Motion
                                           and telephone conference with J. Glasser (.8)
05/10/11   K. Sager                   0.20 Telephone conference with Ms. Goller
05/11/11   K. Sager                   0.30 Communicate with J. Glasser regarding status and
                                           deadlines for opposition to writ; strategy
05/11/11   J. Glasser                 0.60 Correspondence with Mr. Brouwer regarding formal
                                           release of the names of Deputies 1 and 4 (.1);
                                           correspondence with K. Sager and A. Wickers
                                           regarding Deputies' writ of mandate petition and
                                           strategy for LBPOA case versus Sheriff's case going
                                           forward (.2); review writ of mandate petition (.3)
05/12/11   K. Sager                   0.20 Outline issues for strategy call
05/12/11   K. Sager                   0.70 Conference call with Ms. Goller, Mr. Lait, Ms. Kim
                                           and Mr. Leonard regarding strategy
05/12/11   K. Sager                   0.40 Review materials from Plaintiff's counsel and
                                           communicate with team regarding conference call
                                           today
05/12/11   J. Glasser                 0.30 Review documents filed in the Woodrow Player
                                           wrongful death civil lawsuit (.2); correspondence with

                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
           Case 08-13141-BLS   Doc 10212-2       Filed 11/11/11      Page  2 2200
                                                                        Suite of 48
                                                                         1201 Third Avenue
                                                                         Seattle, WA 98101-3045

                                                                         206.622.3150 tel
                                                                         206.757.7700 fax

                                                                         Federal ID #XX-XXXXXXX




DATE       PROFESSIONAL        TIME DESCRIPTION OF SERVICES
                                      Ms. Cummins and Mr. Bibring regarding status of
                                      appellate proceedings and amici brief (.1)
05/15/11   J. Glasser            2.40 Research and draft preliminary opposition to writ of
                                      mandate #2 filed by the Deputies
05/16/11   K. Sager              0.30 Discussion with J. Glasser regarding order from Court
                                      of Appeal denying writ
05/16/11   J. Glasser            4.70 Research and draft preliminary opposition (4.4);
                                      correspondence with Mr. Brouwer regarding court of
                                      appeal's summary denial of writ petition and related
                                      review of docket and conferring with K. Sager (.3)
05/17/11   J. Glasser            0.30 Review order denying the Deputies' writ petition and
                                      related correspondence with Ms. Goller and K. Sager
                                      (.2); correspondence with Mr. Bibring and Ms.
                                      Cummins regarding Court of Appeal order denying
                                      writ petition filed by the Deputies (.1)
05/19/11   K. Sager              0.50 Communications with clients and team regarding
                                      union's petition for review and strategy
05/19/11   J. Glasser            0.10 Call with Mr. Brouwer
05/20/11   K. Sager              0.20 Review e-mail memorandum from J. Glasser regarding
                                      timing of response to petition and summary of union
                                      arguments
05/20/11   J. Glasser            0.70 Review Petition for Review filed by the Deputies and
                                      related correspondence with K. Sager
05/23/11   K. Sager              0.50 Discussion with clients, J. Glasser regarding strategy
                                      for responding and to petition for review (.4);
                                      communicate with R. Wilcox regarding brief (.1)
05/23/11   J. Glasser            0.30 Confer with Ms. Goller and K. Sager regarding
                                      strategy for answering the Deputies' Petition for
                                      Review and related correspondence with R. Wilcox
05/24/11   J. Glasser            0.10 Correspondence with R. Wilcox regarding answering
                                      brief in the California Supreme Court
05/26/11   K. Sager              0.10 Communicate with J. Glasser regarding status
05/26/11   J. Glasser            3.40 Correspondence with Mr. Bibring and Ms. Cummins
                                      regarding California Supreme Court stay and next steps
                                      in case (.2); research and draft answering brief to
                                      Petition for Review before California Supreme Court
                                      (3.2)
05/29/11   J. Glasser            3.70 Research and draft petition for review
05/30/11   J. Glasser            4.30 Research and draft petition for review
05/31/11   J. Glasser            0.40 Correspondence with Ms. Goller, K. Sager, A.
                                      Wickers, and R. Wilcox regarding denial of petition for
                          PLEASE REMIT WITH PAYMENT
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                                                                                    Suite of 48
                                                                                      1201 Third Avenue
                                                                                      Seattle, WA 98101-3045

                                                                                      206.622.3150 tel
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DATE       PROFESSIONAL               TIME DESCRIPTION OF SERVICES
                                             review by California Supreme Court (.1); call with Ms.
                                             Goller (.2); correspondence with R. Brouwer (.1)
           Total Hours Worked          26.30



                                     DISBURSEMENT DETAIL

DESCRIPTION                                                            QUANTITY                AMOUNT
Photocopy Charges                                                          4,338                 433.80
Duplicating expense - - Credit Card - 03/10/11, LA Superior                    1                  15.00
Court download of civil case document images
               Total Current Disbursements                                                         $448.80



                    TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                        Total Current Services                            $9,797.00
                        Less Agreed Discount                                (979.70)
                        Adjusted Current Services                          8,817.30
                        Total Current Disbursements                           448.80
                                                                       ----------------

                        Total Current Invoice                             $9,266.10




                                 SUMMARY BY PROFESSIONAL

Professional                                        Hours Worked       Billed Per Hour       Bill Amount
Partner
      Sager, K.                                                4.90               522.00           2,557.80
                                                        ------------                          ---------------
         Total                                                 4.90                                2,557.80
Associate
      Glasser, J.                                             21.40               292.50          6,259.50
                                 PLEASE REMIT WITH PAYMENT
           Case 08-13141-BLS         Doc 10212-2    Filed 11/11/11     Page  4 2200
                                                                          Suite of 48
                                                                            1201 Third Avenue
                                                                            Seattle, WA 98101-3045

                                                                            206.622.3150 tel
                                                                            206.757.7700 fax

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                                                   ------------                      ---------------
         Total                                          21.40                             6,259.50
                                                   ------------                      ---------------
      Total All Classes                                 26.30                           $8,817.30



                                   STATEMENT OF ACCOUNT
Balance from Previous Statement                                           $34,476.65

Current Invoice                                                             $9,266.10

                                                                     ---------------------
Total Balance Due This Matter                                              $43,742.75




                                  PLEASE REMIT WITH PAYMENT
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                                                                      Suite of 48
                                                                      1201 Third Avenue
                                                                      Seattle, WA 98101-3045

                                                                      206.622.3150 tel
                                                                      206.757.7700 fax

                                                                      Federal ID #XX-XXXXXXX




                                                                      Suite 2200
                                                                      1201 Third Avenue
                                                                      Seattle, WA 98101-3045

                                                                      206.622.3150 tel
                                                                      206.757.7700 fax

                                                                      Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                           June 28, 2011
Attn: Karlene W. Goller, Esq.                                  Invoice No. 5984783
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JUNE INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS


Matter No.        0026175-000395
No Doubt Amici Brief



                                 STATEMENT OF ACCOUNT

Current Invoice                                                                     $500.00


Total Balance Due This Matter                                                       $500.00




                                PLEASE REMIT WITH PAYMENT
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                                                                              1201 Third Avenue
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                                                                              206.622.3150 tel
                                                                              206.757.7700 fax

                                                                              Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                  June 30, 2011
Attn: Karlene W. Goller, Esq.                                         Invoice No. 5985589
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JUNE INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:          0026175-000326
Gaming Advertising Advice

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
05/20/11   A. Wickers                 0.20 Attention to Fan Duel issues, including
                                           communications with Ms. Xanders and J. Nguyen (.2)
05/22/11   A. Wickers                 0.30 Attention to Fan Duel issues and communicate with S.
                                           Sullivan regarding same (.3)
05/23/11   J. Nguyen                  1.00 Analyze draft contract for FanDuel fantasy sports;
                                           review issues with state law and communicate with A.
                                           Wickers regarding same
05/23/11   A. Wickers                 0.20 Communicate with Ms. Xanders and J. Nguyen
                                           regarding Fan Duel issues (.2)
05/23/11   S. Sullivan                0.10 Analyze issues relating to Los Angeles Times fantasy
                                           gaming contest
05/24/11   A. Wickers                 0.20 Communicate with Ms. Xanders and S. Sullivan
                                           regarding Fan Duel issues (.2)
05/24/11   S. Sullivan                0.60 Review and analyze summary of California law
                                           governing gaming issues with fantasy sports (.2);
                                           research California law governing fantasy sports (.3);
                                           draft memo regarding same (.1).
           Total Hours Worked         2.60




                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
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                                                                                      Suite of 48
                                                                                        1201 Third Avenue
                                                                                        Seattle, WA 98101-3045

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                     TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                            $1,203.88
                          Less Agreed Discount                                (120.39)
                          Adjusted Current Services                          1,083.49
                          Total Current Disbursements                              0.00
                                                                         ----------------

                          Total Current Invoice                             $1,083.49




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour       Bill Amount
Partner
      Nguyen, J.                                                 1.00               465.87             465.87
      Wickers, A.                                                0.90               424.35             381.92
                                                          ------------                          ---------------
         Total                                                   1.90                                  847.79
Associate
      Sullivan, S.                                               0.70               336.72             235.70
                                                          ------------                          ---------------
         Total                                                   0.70                                  235.70
                                                          ------------                          ---------------
      Total All Classes                                          2.60                              $1,083.49




                                   PLEASE REMIT WITH PAYMENT
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                                                                           1201 Third Avenue
                                                                           Seattle, WA 98101-3045

                                                                           206.622.3150 tel
                                                                           206.757.7700 fax

                                                                           Federal ID #XX-XXXXXXX




                                   STATEMENT OF ACCOUNT
Balance from Previous Statement                                            $3,771.45

Less Payments Received as of 06/16/08 -                                   ($3,771.45)
 LA TIMES - ACH PAYMENT

Current Invoice                                                            $1,083.49

                                                                    ---------------------
Total Balance Due This Matter                                              $1,083.49




                                  PLEASE REMIT WITH PAYMENT
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                                                                                 Suite of 48
                                                                                   1201 Third Avenue
                                                                                   Seattle, WA 98101-3045

                                                                                   206.622.3150 tel
                                                                                   206.757.7700 fax

                                                                                   Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                     June 30, 2011
Attn: Karlene W. Goller, Esq.                                            Invoice No. 5985590
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JUNE INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:             0026175-000369
DCFS
0000001920

DATE       PROFESSIONAL               TIME DESCRIPTION OF SERVICES
05/19/11   J. Glasser                   0.10 Correspondence with Ms. Goller and K. Sager
                                             updating SB 39 Petition
05/23/11   J. Glasser                   0.30 Call with Mr. Therolf regarding SB 39 writ petition
                                             and supporting documents
           Total Hours Worked           0.40



                  TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                        Total Current Services                           $130.00
                        Less Agreed Discount                               (13.00)
                        Adjusted Current Services                         117.00
                        Total Current Disbursements                           0.00
                                                                    ----------------

                        Total Current Invoice                            $117.00




                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
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                                                                               102200
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                                                                               1201 Third Avenue
                                                                               Seattle, WA 98101-3045

                                                                               206.622.3150 tel
                                                                               206.757.7700 fax

                                                                               Federal ID #XX-XXXXXXX




                                  SUMMARY BY PROFESSIONAL

Professional                                 Hours Worked         Billed Per Hour      Bill Amount
Associate
      Glasser, J.                                         0.40             292.50              117.00
                                                   ------------                         ---------------
         Total                                            0.40                                 117.00
                                                   ------------                         ---------------
      Total All Classes                                   0.40                               $117.00



                                   STATEMENT OF ACCOUNT
Balance from Previous Statement                                                $8,792.66

Current Invoice                                                                  $117.00

                                                                        ---------------------
Total Balance Due This Matter                                                  $8,909.66




                                  PLEASE REMIT WITH PAYMENT
           Case 08-13141-BLS        Doc 10212-2      Filed 11/11/11     PageSuite
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                                                                             1201 Third Avenue
                                                                             Seattle, WA 98101-3045

                                                                             206.622.3150 tel
                                                                             206.757.7700 fax

                                                                             Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                 June 30, 2011
Attn. Julie Xanders                                                  Invoice No. 5985591
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JUNE INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:             0026175-000380
Ad Development

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
05/03/11   A. Wickers                 0.40 Review LA Noire page and communicate with Ms.
                                           Xanders, Mr. Bluestein, and Ms. Granik regarding
                                           same (.4)
05/04/11   A. Wickers                 0.10 Communicate with Ms. Granik regarding LA Noire
                                           page (.1)
05/09/11   A. Wickers                 0.20 Telephone call with Ms. Xanders regarding
                                           commercial speech issues (.2)
05/10/11   A. Wickers                 0.30 Communicate with Ms. Xanders and Ms. Varela
                                           regarding request from Rockstar Games (.3)
05/11/11   A. Wickers                 0.50 Review original clearance reports regarding LA Noire
                                           (.5)
05/13/11   A. Wickers                 0.20 Review proposed mock-up of photo for LA Noire and
                                           communicate with Ms. Xanders regarding same (.1);
                                           telephone call with Ms. Xanders and Ms. Granik
                                           regarding same (.1)
05/16/11   A. Wickers                 0.10 Telephone call with Ms. Xanders regarding
                                           commercial speech issues (.1)
           Total Hours Worked         1.80




                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
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                                                                                        122200
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                                                                                        1201 Third Avenue
                                                                                        Seattle, WA 98101-3045

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                  TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                              $936.00
                          Less Agreed Discount                                  (93.60)
                          Adjusted Current Services                            842.40
                          Total Current Disbursements                              0.00
                                                                         ----------------

                          Total Current Invoice                               $842.40




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour        Bill Amount
Partner
      Wickers, A.                                                1.80               468.00             842.40
                                                          ------------                          ---------------
         Total                                                   1.80                                  842.40
                                                          ------------                          ---------------
      Total All Classes                                          1.80                                $842.40



                                     STATEMENT OF ACCOUNT
Balance from Previous Statement                                                       $11,114.87

Current Invoice                                                                             $842.40

                                                                                ---------------------
Total Balance Due This Matter                                                         $11,957.27




                                   PLEASE REMIT WITH PAYMENT
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                                                                             Seattle, WA 98101-3045

                                                                             206.622.3150 tel
                                                                             206.757.7700 fax

                                                                             Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                 June 30, 2011
Attn: Julie Xanders, Esq.                                            Invoice No. 5985592
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                      JUNE INVOICE FOR
_________________________               STATEMENT OF       ________________________
                                SERVICES AND DISBURSEMENTS

Matter No.:            0026175-000383
Adjudication Matters

DATE       PROFESSIONAL            TIME DESCRIPTION OF SERVICES
05/03/11   K. Henry                  0.60 Communications with Ms. Xanders regarding The
                                          Daily Pilot's adjudication (.4); review and comment on
                                          memorandum regarding The Daily Pilot's adjudication
                                          (.2)
05/04/11   K. Henry                  0.90 Locate and forward to Ms. Xanders the name change
                                          orders for the Newport Beach and Costa Mesa papers
                                          (.5) (Los Angeles Times Publication Issue)
                                          Communications with Ms. Xanders regarding
                                          publication issue regarding summons in the LA Times
                                          (.4)
05/13/11   K. Henry                  0.20 Review revised masthead for Daily Pilot and
                                          communications with Ms. Xanders and Ms.
                                          Lindemann regarding same (.2)
           Total Hours Worked        1.70




                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
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                                                                                        206.622.3150 tel
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                  TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                              $637.50
                          Less Agreed Discount                                  (63.75)
                          Adjusted Current Services                            573.75
                          Total Current Disbursements                              0.00
                                                                         ----------------

                          Total Current Invoice                               $573.75




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour        Bill Amount
Associate
      Henry, K.                                                  1.70               337.50             573.75
                                                          ------------                          ---------------
         Total                                                   1.70                                  573.75
                                                          ------------                          ---------------
      Total All Classes                                          1.70                                $573.75



                                     STATEMENT OF ACCOUNT
Balance from Previous Statement                                                       $15,307.15

Current Invoice                                                                             $573.75

                                                                                ---------------------
Total Balance Due This Matter                                                         $15,880.90




                                   PLEASE REMIT WITH PAYMENT
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                                                                            1201 Third Avenue
                                                                            Seattle, WA 98101-3045

                                                                            206.622.3150 tel
                                                                            206.757.7700 fax

                                                                            Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                 June 30, 2011
Attn: Karlene W. Goller, Esq.                                        Invoice No. 5985593
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JUNE INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:           0026175-000385
Long Beach Police Association

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
05/02/11   K. Sager                   0.40 Discussions with Jeff Glasser regarding CMC
                                           statement and respond to inquiry for same
05/22/11   K. Sager                   0.10 Communicate with tame regarding status conference
05/23/11   J. Glasser                 0.10 Confer with K. Sager regarding trial court's order
                                           regarding calendar case management conference and
                                           prepare case management conference statement
05/24/11   J. Glasser                 0.50 Draft case management conference statement and
                                           exhibits
05/31/11   J. Glasser                 0.50 Attend case management conference via CourtCall
           Total Hours Worked         1.60



                                   DISBURSEMENT DETAIL

DESCRIPTION                                                     QUANTITY             AMOUNT
Filing fee - - US LEGAL MANAGEMENT SERVICES INC -                      1                28.25
3/30/11 CACOA LA per C. Solano
Filing fee - - US LEGAL MANAGEMENT SERVICES INC -                           1                  60.60
4/8/11 CACOA LA per C. Solano
Legal process server service - - US LEGAL MANAGEMENT                        1              176.18
SERVICES INC - 3/30/11 James Trott per C. Solano
Legal process server service - - US LEGAL MANAGEMENT                        1              125.90

                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
           Case 08-13141-BLS            Doc 10212-2       Filed 11/11/11          PageSuite
                                                                                        162200
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                                                                                        1201 Third Avenue
                                                                                        Seattle, WA 98101-3045

                                                                                        206.622.3150 tel
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SERVICES INC - 3/30/11 Long Beach City Attorney per C.
Solano
Legal process server service - - US LEGAL MANAGEMENT                                   1              125.90
SERVICES INC - 3/30/11 Hon. Patrick Madden per C. Solano
Outside delivery service - - GLOBAL NETWORK LEGAL                                      1              186.69
SUPPORT - LASC per C. Solano
                Total Current Disbursements                                                          $703.52



                    TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                              $647.50
                          Less Agreed Discount                                  (64.75)
                          Adjusted Current Services                            582.75
                          Total Current Disbursements                           703.52
                                                                         ----------------

                          Total Current Invoice                             $1,286.27




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour       Bill Amount
Partner
      Sager, K.                                                  0.50               522.00             261.00
                                                          ------------                          ---------------
         Total                                                   0.50                                  261.00
Associate
      Glasser, J.                                                1.10               292.50             321.75
                                                          ------------                          ---------------
         Total                                                   1.10                                  321.75
                                                          ------------                          ---------------
      Total All Classes                                          1.60                                $582.75



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                                                                           1201 Third Avenue
                                                                           Seattle, WA 98101-3045

                                                                           206.622.3150 tel
                                                                           206.757.7700 fax

                                                                           Federal ID #XX-XXXXXXX




                                   STATEMENT OF ACCOUNT
Balance from Previous Statement                                          $40,854.35

Current Invoice                                                            $1,286.27

                                                                    ---------------------
Total Balance Due This Matter                                             $42,140.62




                                  PLEASE REMIT WITH PAYMENT
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                                                                                 182200
                                                                                     of 48
                                                                                1201 Third Avenue
                                                                                Seattle, WA 98101-3045

                                                                                206.622.3150 tel
                                                                                206.757.7700 fax

                                                                                Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                    June 30, 2011
Attn: Karlene W. Goller, Esq.                                           Invoice No. 5985594
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JUNE INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:         0026175-000388
1 800 GET THIN, LLC

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
04/12/11   S. Morrison                0.20 Advice to L. Kohn regarding trademark claims
05/02/11   K. Sager                   1.50 Review E-mail correspondence from R. Silverman and
                                           communicate with clients regarding same (.3); draft
                                           response to R. Silverman extension request and finalize
                                           (.4) telephone conference with Stuart Miller (.2);
                                           communicate with team regarding opposition to ex
                                           parte and gather materials for same (.4); review
                                           message from B. Oxman (.1); communicate with S.
                                           Wellman and S. Miller (.1)
05/02/11   K. Sager                   0.20 Communicate with B. Oxman regarding messages
05/02/11   K. Sager                   0.30 Communicate with Mr. Hiltzik regarding B. Oxman
                                           calls and communicate with team regarding same
05/02/11   K. Sager                   0.20 Communicate with R. Silverman
05/02/11   K. Sager                   0.60 Discussion with L. Kohn regarding status and
                                           regarding reply brief on Motion to Dismiss (.3); gather
                                           materials for reply brief (.3)
05/02/11   K. Sager                   0.30 Communicate with clients and review opposition brief
                                           and related papers
05/02/11   L. Kohn                    0.70 Research filing deadline for ex parte application under
                                           local rules and Judge Wright's procedures in
                                           anticipation of plaintiff's ex parte application to extend
                                           deadline for opposition to motion to dismiss (.5);
                                           confer with K. Sager regarding plaintiff's proposed ex

                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
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                                                                             192200
                                                                                 of 48
                                                                            1201 Third Avenue
                                                                            Seattle, WA 98101-3045

                                                                            206.622.3150 tel
                                                                            206.757.7700 fax

                                                                            Federal ID #XX-XXXXXXX




DATE       PROFESSIONAL        TIME DESCRIPTION OF SERVICES
                                      parte application (.2)
05/03/11   K. Sager              1.00 Review Plaintiff's opposition brief and outline issues
                                      for reply
05/03/11   L. Kohn               5.30 Review and analyze opposition to motion to dismiss
                                      (1.5); review cases cited in opposition (2.1); outline
                                      arguments for opposition (.5); confer with J. Segal
                                      regarding drafting response to objections to RJN (.2);
                                      begin drafting reply (1.0)
05/04/11   K. Sager              0.70 Communications with L. Kohn regarding reply brief
                                      (.2); draft comments regarding further arguments for
                                      reply (.5)
05/04/11   K. Sager              0.50 Communications with L. Kohn and J. Segal regarding
                                      reply brief
05/04/11   L. Kohn               8.30 Revise outline of reply brief (.7); draft sections of reply
                                      in support of motion to dismiss regarding nominative
                                      fair use and "commercial advertising and promotion"
                                      requirement (6.8); communicate with K. Sager
                                      regarding reply brief (.8)
05/04/11   J. Segal              4.20 Research nominative fair use (2.5); research special
                                      damages and Lanham Act issues(1.7)
05/05/11   B. Johnson            1.30 Review additional commercial speech arguments,
                                      cases; review briefing, legal research issues regarding
                                      reply
05/05/11   K. Sager              0.50 Multiple communications with Ms. Goller and L. Kohn
                                      regarding reply brief on 12(b)(6) Motion
05/05/11   L. Kohn              11.10 Draft reply in support of motion to dismiss (9.8);
                                      communicate with K. Sager and B. Johnson regarding
                                      reply brief (1.1); communicate with J. Segal regarding
                                      response to plaintiff's objections to request for judicial
                                      notice (.2)
05/05/11   J. Segal              5.10 Research and draft response regarding Request for
                                      Judicial Notice (4.5); draft section on Nominative Fair
                                      Use (0.6)
05/06/11   K. Sager              0.10 Communicate with Mr. Hiltzik regarding ownership
                                      materials
05/06/11   L. Kohn               9.40 Revise reply in support of motion to dismiss
05/07/11   K. Sager              8.50 Review and revise reply brief, including review of
                                      cases and multiple communications with L. Kohn
05/07/11   L. Kohn               8.40 Communicate with K. Sager regarding reply brief
                                      (1.5); revise reply brief per K. Sager's questions and
                                      comments (6.9)
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                                                                        1201 Third Avenue
                                                                        Seattle, WA 98101-3045

                                                                        206.622.3150 tel
                                                                        206.757.7700 fax

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DATE       PROFESSIONAL        TIME DESCRIPTION OF SERVICES
05/08/11   K. Sager              0.90 Revise Reply Brief and communicate with clients
05/08/11   K. Sager              2.40 Review and revise respond to Request for Judicial
                                      Notice objection (.4); communicate with L. Kohn
                                      regarding filing (.2); revise reply (1.8)
05/08/11   L. Kohn               1.10 Review reply brief revised by K. Sager and
                                      communicate with K. Sager regarding same
05/09/11   B. Johnson            0.60 Review additional cases, including today's Utah
                                      decision in Koch matter regarding Lanham Act and
                                      commercial speech
05/09/11   K. Sager              0.30 Communicate with L. Kohn regarding reply brief and
                                      make final revisions
05/09/11   L. Kohn               4.90 Review and finalize reply brief and response to
                                      objections to request for judicial notice for filing,
                                      including cite check (4.4); confer with Ms. Karlene
                                      Goller (.2); communicate with K. Sager regarding
                                      reply brief (.4)
05/09/11   B. Planchon           2.10 Cite check Reply of Motion to Dismiss First Amended
                                      Complaint
05/11/11   L. Kohn               1.40 Review briefs filed in 1 800 Get Thin v. Feizbakhsh
                                      and communicate with K. Sager regarding same
05/13/11   K. Sager              0.20 Communicate with L. Kohn regarding Alexander
                                      Robertson suit and additional names and related cases
05/13/11   L. Kohn               0.70 Review complaint in 1 800 Get Thin v. Robertson (.5);
                                      communicate with K. Sager regarding whether to
                                      amend notices of related cases to include case (.2)
05/15/11   K. Sager              0.40 Communicate with L. Kohn regarding other 1-800
                                      suits (.1); review Silverman E-Mail and communicate
                                      with Ms. Goller and Mr. Wellman regarding same (.2);
                                      review additional 1-800 business cards (.1)
05/15/11   K. Sager              0.20 Communicate with team and Ms. Goller regarding
                                      Disney case
05/15/11   L. Kohn               0.20 Communicate with Ms. Goller and K. Sager regarding
                                      continuance of hearing in 1 800 Get Thin v.
                                      Feizbakhsh
05/16/11   K. Sager              0.40 Discussions with Ms. Goller and Mr. Carrigan (.3);
                                      discussion with J. Jassy (.1)
05/16/11   K. Sager              0.30 Discussion with L. Kohn regarding Feiss decision
05/18/11   K. Roth               2.50 Review briefs and prepare reference set of all
                                      authorities cited for hearing
05/20/11   K. Roth               1.20 Continue preparation of reference set of authorities
                                      regarding Motion to Dismiss
                          PLEASE REMIT WITH PAYMENT
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                                                                                1201 Third Avenue
                                                                                Seattle, WA 98101-3045

                                                                                206.622.3150 tel
                                                                                206.757.7700 fax

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DATE       PROFESSIONAL               TIME DESCRIPTION OF SERVICES
05/22/11   K. Sager                     5.80 Review pleadings, authorities, and outline argument
                                             for hearing on Motion to Dismiss
05/23/11   K. Sager                     0.30 Review court order regarding hearing and
                                             communicate with clients and team regarding same
           Total Hours Worked          94.30



                                     DISBURSEMENT DETAIL

DESCRIPTION                                                        QUANTITY              AMOUNT
Lexis-Nexis (billed at cost) computerized legal research                  1                 30.87
04/21/11 per C. Gilbertson
Lexis-Nexis (billed at cost) computerized legal research                       1              488.59
04/21/11 per C. Gilbertson
Law library - - LOS ANGELES COUNTY LAW LIBRARY                                 1                   30.00
Photocopies / LA Law Library / Order #1344 (LA)
Outside delivery service - - GLOBAL NETWORK LEGAL                              1                   15.00
SUPPORT - Judge Wright per C. Solano
Outside delivery service - - GLOBAL NETWORK LEGAL                              1                   78.00
SUPPORT - Judge Wright per C. Solano
Outside delivery service - - GLOBAL NETWORK LEGAL                              1                   15.00
SUPPORT - Judge Wright per C. Solano
Outside delivery service - - GLOBAL NETWORK LEGAL                              1                   15.00
SUPPORT - Judge Wright per C. Solano
Outside delivery service - - GLOBAL NETWORK LEGAL                              1                    7.00
SUPPORT - Judge Wright per C. Solano
Outside delivery service - - APEX ATTORNEY SERVICES                            1                   32.00
INC - 5/9/11 USDC per G. Pasquale
West Publishing (billed at cost) computerized legal research                   1                    5.81
05/09/11 per B. Planchon
West Publishing (billed at cost) computerized legal research                   1              147.35
05/18/11 per K. Roth
                 Total Current Disbursements                                                 $864.62




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                                                                                        Seattle, WA 98101-3045

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                  TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                          $35,130.00
                          Less Agreed Discount                              (3,513.00)
                          Adjusted Current Services                         31,617.00
                          Total Current Disbursements                           864.62
                                                                         ----------------

                          Total Current Invoice                           $32,481.62




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour       Bill Amount
Partner
      Johnson, B.                                                1.90               504.00             957.60
      Morrison, S.                                               0.20               382.50              76.50
      Sager, K.                                                25.60                522.00         13,363.20
                                                          ------------                          ---------------
         Total                                                 27.70                               14,397.30
Associate
      Kohn, L.                                                 51.50                270.00         13,905.00
      Segal, J.                                                  9.30               270.00           2,511.00
                                                          ------------                          ---------------
         Total                                                 60.80                               16,416.00
Paralegal
      Planchon, B.                                               2.10               184.50             387.45
      Roth, K.                                                   3.70               112.50             416.25
                                                          ------------                          ---------------
         Total                                                   5.80                                  803.70
                                                          ------------                          ---------------
      Total All Classes                                        94.30                              $31,617.00




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                                                                           232200
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                                                                           1201 Third Avenue
                                                                           Seattle, WA 98101-3045

                                                                           206.622.3150 tel
                                                                           206.757.7700 fax

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                                   STATEMENT OF ACCOUNT
Balance from Previous Statement                                          $49,174.58

Current Invoice                                                          $32,481.62

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Total Balance Due This Matter                                             $81,656.20




                                  PLEASE REMIT WITH PAYMENT
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                                                                                    242200
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                                                                                   1201 Third Avenue
                                                                                   Seattle, WA 98101-3045

                                                                                   206.622.3150 tel
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Los Angeles Times Communications LLC                                       June 30, 2011
Attn: Karlene W. Goller, Esq.                                              Invoice No. 5985595
Vice President and Deputy General Counsel                                  SENT ELECTRONICALLY
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JUNE INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

                           ELECTRONIC BILLING - DO NOT MAIL
                                 FOR FILING PURPOSES ONLY
Matter No.              0026175-000392
Strick

DATE         PROFESSIONAL                TIME DESCRIPTION OF SERVICES
05/12/11     K. Sager                      0.20 Review materials and communicate with. S. Sullivan
05/12/11     K. Sager                      0.30 Telephone conference with Ms. Goller
05/12/11     K. Sager                      0.20 Communicate with J. Jassy, Ms. Goller
05/15/11     K. Sager                      0.80 Review complaint and exhibits and outline issues for
                                                meeting tomorrow
05/16/11     K. Sager                      1.00 Meeting with J. Jassy and Ms. Goller regarding
                                                defense of copyright suit
05/16/11     K. Sager                      0.20 Discussion with S. Sullivan regarding background and
                                                motion regarding arbitration
05/16/11     S. Sullivan                   0.20 Conference with K. Sager regarding strategy for
                                                responding to Complaint filed alleging copyright
                                                infringement against Los Angeles Times.
05/17/11     J. Segal                      2.70 Confer with S. Sullivan regarding research (0.2); read
                                                and analyze Complaint and research copyright issue
                                                regarding licensing (2.5)
05/17/11     S. Sullivan                   0.70 Conference with S. Segal regarding motion to dismiss
                                                Complaint (.2); review Complaint and attached license
                                                agreement (.5).
05/18/11     J. Segal                      2.10 Research use of arbitration in copyright cases


                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
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                                                                          206.622.3150 tel
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DATE       PROFESSIONAL        TIME DESCRIPTION OF SERVICES
05/19/11   K. Sager              0.50 Communications with clients and team regarding
                                      service of complaint, arbitration motion and licensing
                                      issue
05/19/11   K. Sager              0.30 Further communications with S. Sullivan and J. Segal
                                      regarding strategy for response
05/19/11   J. Segal              1.30 Research copyright and contract issues (0.6); research
                                      arbitration issues(0.7)
05/19/11   S. Sullivan           0.70 Review notices of service of process of Complaint and
                                      supporting papers (.1); analyze strategy for response to
                                      same (.6
05/20/11   K. Sager              0.40 Communications with client and team regarding
                                      service, strategy for response
05/20/11   K. Sager              1.80 Review E-mail memorandum from J. Jassy and
                                      communicate with J. Jassy and Ms. Goller regarding
                                      same (.3); multiple communications with J. Segal and
                                      S. Sullivan regarding research on procedures and
                                      copyright vs breach of contract claim, including review
                                      of cases (1.5)
05/20/11   K. Sager              0.10 Telephone conference with J. Segal
05/20/11   J. Segal              5.90 Research and draft memo regarding copyright claims
                                      sounding in contract (3.0); research and draft memo
                                      regarding factors influencing likelihood of court
                                      ordering arbitration (2.9)
05/21/11   J. Segal              2.20 Research regarding motion to compel arbitration and
                                      responsive pleadings and draft E-memo to K. Sager
                                      regarding same
05/23/11   K. Sager              0.50 Discussion with S. Sullivan regarding status (.2);
                                      review materials on arbitration clause (.3); telephone
                                      conference with Plaintiff's counsel and leave message
                                      (no charge)
05/23/11   K. Sager              0.60 Discussion with Ms. Goller regarding strategy and
                                      response to complaint (.3); communicate with
                                      Plaintiff's counsel (.3);
05/23/11   J. Segal              0.20 Confer with S. Sullivan regarding further research
05/24/11   K. Sager              0.40 Communications with S. Sullivan regarding Plaintiff's
                                      response to extension request and review
                                      communication from Plaintiff's counsel
05/24/11   S. Sullivan           0.40 Review and respond to email correspondence
                                      regarding plaintiff's counsel's response to request for
                                      extension of time to respond to Complaint (.3); prepare
                                      stipulation for extension of time to respond to
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                                                                          Seattle, WA 98101-3045

                                                                          206.622.3150 tel
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DATE       PROFESSIONAL        TIME DESCRIPTION OF SERVICES
                                      Complaint (.1).
05/25/11   K. Sager              0.60 Communications with team regarding stipulation (0.2);
                                      communications with team regarding plaintiff's refusal
                                      to grant extension and ex parte application (0.4)
05/25/11   J. Segal              2.10 Research rules regarding ex parte filings (0.2); confer
                                      with team regarding strategy (0.1); draft Sager
                                      declaration (.7); begin drafting Ex Parte Application
                                      (1.1)
05/25/11   S. Sullivan           1.40 Draft email to plaintiff's counsel regarding stipulation
                                      to extend time to respond to Complaint (.1); work on
                                      stipulation for extension of time to respond to
                                      Complaint (.1); review response from plaintiff's
                                      counsel to same (.1); work on ex parte application to
                                      extend time to respond to Complaint (.7); review
                                      emails regarding background information on plaintiff
                                      and counsel (.4).
05/26/11   K. Sager              1.00 Review and revise declaration and review and revise
                                      E-mail notice to plaintiff's counsel (0.5); communicate
                                      with team regarding ex parte (0.2); follow-up
                                      communications with client and team and review
                                      communications with plaintiff's counsel (0.3)
05/26/11   J. Segal              4.00 Draft Ex Parte Application (2.7); draft Sullivan
                                      Declaration (.8); draft E-mail to K. Moskowitz
                                      regarding notice (0.4); edit Sager Declaration (0.1)
05/26/11   S. Sullivan           2.90 Review and respond to email correspondence from
                                      plaintiff's counsel regarding ex parte (.6); work on ex
                                      parte application for extension of time to respond to
                                      Complaint and declarations in support of same (1.8);
                                      review background documents and correspondence
                                      (.5).
05/27/11   K. Sager              1.30 Communications with clients and team (.03); review
                                      and revise ex parte and communications with S.
                                      Sullivan and team regarding same (1.0)
05/27/11   J. Segal              4.80 Revise Ex Parte Application to extend time (1.6);
                                      collect and coordinate exhibits (0.5); revise Sager and
                                      Sullivan Declarations (2.2); research copyright cases
                                      for compelling arbitration and draft memo regarding
                                      same (0.5)
05/27/11   S. Sullivan           3.90 Tele-conference with counsel for Strick regarding
                                      planned ex parte for extension of time to file response
                                      to Complaint (.3); draft and respond to email
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DATE       PROFESSIONAL                TIME DESCRIPTION OF SERVICES
                                              correspondence regarding same (.4); work on ex parte
                                              application for extension of time and supporting
                                              documents for same (3.2).
05/28/11   K. Sager                      0.30 Communicate with S. Sullivan and J. Segal regarding
                                              Corporate Disclosure Statement and ex parte papers
05/28/11   J. Segal                      0.10 Prepare Corporate Disclosure Statement
05/29/11   K. Sager                      0.10 Communicate with J. Segal regarding corporate
                                              disclosure documents
05/30/11   S. Sullivan                   1.20 Finalize ex parte papers seeking extension of time to
                                              respond to Complaint
05/31/11   K. Sager                      0.30 Review communication from K. Moskowitz and
                                              communicate with team regarding response
05/31/11   S. Sullivan                   0.40 Review and respond to email correspondence from
                                              plaintiff's counsel regarding ex parte application for
                                              extension of time to respond to Complaint (.4)
           Total Hours Worked           48.10



                  TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                         Total Current Services                       $19,411.00
                         Less Agreed Discount                           (2,562.10)
                         Adjusted Current Services                      16,848.90
                         Total Current Disbursements                           0.00
                                                                     ----------------

                         Total Current Invoice                        $16,848.90




                                  SUMMARY BY PROFESSIONAL

Professional                                         Hours Worked   Billed Per Hour        Bill Amount
Partner
      Sager, K.                                             10.90               522.00          5,689.80


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                                                                         1201 Third Avenue
                                                                         Seattle, WA 98101-3045

                                                                         206.622.3150 tel
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         Total                                        10.90                            5,689.80
Associate
      Segal, J.                                       25.40          270.00            6,858.00
      Sullivan, S.                                    11.80          364.50           4,301.10
                                                 ------------                     ---------------
         Total                                        37.20                          11,159.10
                                                 ------------                     ---------------
      Total All Classes                               48.10                         $16,848.90



                                 STATEMENT OF ACCOUNT
Current Invoice                                                        $16,848.90

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Total Balance Due This Matter                                           $16,848.90




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                                                                                Seattle, WA 98101-3045

                                                                                206.622.3150 tel
                                                                                206.757.7700 fax

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Tribune Co.                                                           June 30, 2011
Attn: David Eldersveld, Esq.                                          Invoice No. 5985603
General Counsel
435 N. Michigan Ave.
Chicago, IL 60611



                                JUNE INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:           0041033-000020
Los Angeles General Advice

DATE       PROFESSIONAL              TIME DESCRIPTION OF SERVICES
05/23/11   R. London                   0.30 FOR CHICAGO TRIBUNE: Teleconference with Ms.
                                            Flax regarding reps and warranties regarding calls
                                            placed on behalf of BBB
           Total Hours Worked          0.30



                 TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                       Total Current Services                         $144.00
                       Less Agreed Discount                             (14.40)
                       Adjusted Current Services                       129.60
                       Total Current Disbursements                         0.00
                                                                 ----------------

                       Total Current Invoice                          $129.60




                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
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                                                                               1201 Third Avenue
                                                                               Seattle, WA 98101-3045

                                                                               206.622.3150 tel
                                                                               206.757.7700 fax

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                                  SUMMARY BY PROFESSIONAL

Professional                                 Hours Worked         Billed Per Hour      Bill Amount
Of_Counsel
      London, R.                                          0.30             432.00              129.60
                                                   ------------                         ---------------
         Total                                            0.30                                 129.60
                                                   ------------                         ---------------
      Total All Classes                                   0.30                               $129.60



                                   STATEMENT OF ACCOUNT
Balance from Previous Statement                                                $2,983.31

Current Invoice                                                                  $129.60

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Total Balance Due This Matter                                                  $3,112.91




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                                                                                1201 Third Avenue
                                                                                Seattle, WA 98101-3045

                                                                                206.622.3150 tel
                                                                                206.757.7700 fax

                                                                                Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                    June 30, 2011
Attn: Karlene W. Goller, Esq.                                           Invoice No. 5985695
Vice President and Deputy General Counsel                               SENT ELECTRONICALLY
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JUNE INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

                        ELECTRONIC BILLING - DO NOT MAIL
                             FOR FILING PURPOSES ONLY
Matter No.          0026175-000393
Marisa Rodriguez

DATE       PROFESSIONAL              TIME DESCRIPTION OF SERVICES
05/05/11   K. Sager                    0.10 Communicate with Ms. Goller and communicate with
                                            K. Henry regarding juvenile court hearing
05/10/11   K. Henry                    0.40 Conference call with Ms. Goller and Mr. Therolf
                                            regarding petition for records of Marisa Rodriguez (.4)
05/12/11   K. Henry                    3.90 Research regarding reported incidents of involuntary
                                            servitude in foster care system (.5); research published
                                            material on Ms. Rodriguez (.3); draft Declaration (.5);
                                            revise Declaration to reflect Ms. Goller's comments
                                            (.1); communications with Mr. Therolf regarding
                                            Declaration (.2); prepare for hearing on 827 Petition,
                                            including review of cases(2.4)
05/13/11   K. Henry                    4.80 Attend hearing on 827 Petition re Marissa Rodriguez
                                            (4.5); communications with Ms. Goller regarding
                                            hearing (.3)
05/26/11   J. Glasser                  0.30 Correspondence with Ms. Goller re access to parole
                                            revocation hearings and records and related review of
                                            Board of Parole Hearings website and past briefing on
                                            this issue
           Total Hours Worked          9.50


                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
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                                                                                        Seattle, WA 98101-3045

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                    TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                            $3,708.50
                          Less Agreed Discount                                (497.30)
                          Adjusted Current Services                          3,211.20
                          Total Current Disbursements                              0.00
                                                                         ----------------

                          Total Current Invoice                             $3,211.20




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour       Bill Amount
Partner
      Sager, K.                                                  0.10               522.00              52.20
                                                          ------------                          ---------------
         Total                                                   0.10                                   52.20
Associate
      Glasser, J.                                                0.30               292.50              87.75
      Henry, K.                                                  9.10               337.50          3,071.25
                                                          ------------                          ---------------
         Total                                                   9.40                                3,159.00
                                                          ------------                          ---------------
      Total All Classes                                          9.50                              $3,211.20



                                     STATEMENT OF ACCOUNT
Current Invoice                                                                         $3,211.20

                                                                                ---------------------
Total Balance Due This Matter                                                          $3,211.20

                                   PLEASE REMIT WITH PAYMENT
           Case 08-13141-BLS        Doc 10212-2      Filed 11/11/11      PageSuite
                                                                               332200
                                                                                   of 48
                                                                              1201 Third Avenue
                                                                              Seattle, WA 98101-3045

                                                                              206.622.3150 tel
                                                                              206.757.7700 fax

                                                                              Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                  June 30, 2011
Attn: Karlene W. Goller, Esq.                                         Invoice No. 5985697
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JUNE INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:             0026175-000004
General/Advice

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
05/04/11   K. Baker                   0.20 Prepare response to Ms. Xanders regarding social
                                           coupon lawsuit status
05/16/11   K. Sager                   0.70 Meeting with Ms. Goller and editor and follow-up
                                           discussion with Ms. Goller and editor regarding
                                           pending article, include review of interview notes
05/31/11   J. Glasser                 3.70 Call and correspondence with Ms. Goller re contesting
                                           LAUSD's denial of Public Records Act request for
                                           teacher value-added estimates (.2); research and draft
                                           letter brief to LAUSD concerning this issue (3.5)
           Total Hours Worked         4.60



                                   DISBURSEMENT DETAIL

DESCRIPTION                                                      QUANTITY              AMOUNT
Photocopy Charges                                                      266                26.60
              Total Current Disbursements                                                $26.60




                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
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                                                                                        342200
                                                                                            of 48
                                                                                        1201 Third Avenue
                                                                                        Seattle, WA 98101-3045

                                                                                        206.622.3150 tel
                                                                                        206.757.7700 fax

                                                                                        Federal ID #XX-XXXXXXX




                    TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                            $1,699.50
                          Less Agreed Discount                                (169.95)
                          Adjusted Current Services                          1,529.55
                          Total Current Disbursements                            26.60
                                                                         ----------------

                          Total Current Invoice                             $1,556.15




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour       Bill Amount
Partner
      Baker, K.                                                  0.20               409.50              81.90
      Sager, K.                                                  0.70               522.00             365.40
                                                          ------------                          ---------------
         Total                                                   0.90                                  447.30
Associate
      Glasser, J.                                                3.70               292.50           1,082.25
                                                          ------------                          ---------------
         Total                                                   3.70                                1,082.25
                                                          ------------                          ---------------
      Total All Classes                                          4.60                              $1,529.55



                                     STATEMENT OF ACCOUNT
Balance from Previous Statement                                                       $16,651.78

Current Invoice                                                                         $1,556.15

                                                                                ---------------------
Total Balance Due This Matter                                                         $18,207.93

                                   PLEASE REMIT WITH PAYMENT
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                                                                                352200
                                                                                    of 48
                                                                               1201 Third Avenue
                                                                               Seattle, WA 98101-3045

                                                                               206.622.3150 tel
                                                                               206.757.7700 fax

                                                                               Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                  June 30, 2011
Attn: Karlene W. Goller, Esq.                                         Invoice No. 5985879
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JUNE INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:             0026175-000386
Michael Omidi, M.D.

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
05/02/11   K. Sager                   0.40 Review and revise CMC statement and communicate
                                           with Mr. Glasser regarding same
05/02/11   K. Sager                   0.20 Follow-up regarding CMC statement and Joint
                                           Commission Report
05/02/11   J. Glasser                 2.40 Draft case management conference statement and
                                           related conferring with Ms. Goller, Mr. Hiltzik, and K.
                                           Sager (2.4)
05/03/11   K. Sager                   1.00 Review and revise SLAPP motion
05/04/11   K. Sager                   0.70 Revise SLAPP motion and communications with J.
                                           Glasser regarding same
05/05/11   K. Sager                   0.20 Communicate with J. Glasser re SLAPP Motion
05/05/11   J. Glasser                 2.40 Research and revise SLAPP motion against Michael
                                           Omidi
05/06/11   J. Glasser                 7.20 Research and revise SLAPP motion against Michael
                                           Omidi
05/09/11   K. Sager                   2.30 Review and revise SLAPP Motion and communicate
                                           with J. Glasser and clients regarding same
05/09/11   K. Sager                   0.30 Review California Medical Board Order and
                                           accusation
05/09/11   J. Glasser                 7.40 Revise SLAPP motion, draft request for judicial notice
                                           and Glasser declaration, assemble supporting exhibits,
                                           and related correspondence with K. Sager (6.2); calls
                                           with Ms. Goller and Mr. Hiltzik regarding revisions to

                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
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                                                                                   of 48
                                                                             1201 Third Avenue
                                                                             Seattle, WA 98101-3045

                                                                             206.622.3150 tel
                                                                             206.757.7700 fax

                                                                             Federal ID #XX-XXXXXXX




DATE       PROFESSIONAL            TIME DESCRIPTION OF SERVICES
                                          brief (1.1); call clerk regarding dates for SLAPP
                                          hearing (.1)
05/09/11   W. Gonzaque-Taylor        0.50 Confer with J. Glasser regarding review of files
                                          received from the CA Secretary of State
05/09/11   K. Roth                   3.80 Cite check Special Motion to Strike; prepare Appendix
                                          of Non-California Authorities
05/10/11   K. Sager                  0.30 Discussions with J. Glasser regarding SLAPP Motion
                                          and exhibits
05/10/11   J. Glasser                2.40 Revise and finalize SLAPP motion and supporting
                                          Glasser declaration and exhibits and related conferring
                                          and correspondence with Ms. Goller, Ms. Villareal,
                                          and K. Sager (2.2); review cite check (.2)
05/13/11   L. Kohn                   2.50 Draft response to 5/4/11 retraction demand
05/14/11   K. Sager                  0.30 Gather and review materials for Case Management
                                          Conference on Monday
05/15/11   K. Sager                  0.30 Review materials for Case Management Conference
                                          tomorrow
05/16/11   K. Sager                  1.50 Review materials and attend Case Management
                                          Conference include discussion with Ms. Goller
                                          regarding same
05/20/11   K. Sager                  0.40 Review and revise retraction demand response
                                          (4/14/11articles)
05/21/11   K. Sager                  1.40 Review records and revise response to Silverman
                                          demand for retraction (April 14/15 article)
05/22/11   K. Sager                  0.30 Draft response to Silverman E-mail about
                                          "spokesperson"
05/23/11   K. Sager                  0.30 Prepare E-mail correspondence to Plaintiff's counsel
05/26/11   K. Sager                  0.40 Review May 4, 2011 article and retraction demand and
                                          communicate with Ms. Goller regarding same (0.3);
                                          communicate with L. Kohn and J. Glasser (0.1)
05/27/11   J. Glasser                0.30 Revise response to May 4 retraction demand and
                                          related correspondence with Ms. Goller
05/31/11   L. Kohn                   2.20 Draft response to 5/26 retraction demand
           Total Hours Worked       41.40



                                  DISBURSEMENT DETAIL

DESCRIPTION                                                      QUANTITY             AMOUNT
Photocopy Charges                                                    4,302              217.85
                                PLEASE REMIT WITH PAYMENT
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                                                                            1201 Third Avenue
                                                                            Seattle, WA 98101-3045

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Duplicating expense - 03/24/11, Civil case document images of              1                   15.00
Amendment to Complaint
Filing fee - - US LEGAL MANAGEMENT SERVICES INC -                          1                   56.73
4/13/11 LASC per C. Solano
Filing fee - - APEX ATTORNEY SERVICES INC - 4/11/11                        1              868.00
LASC
Filing fee - - GLOBAL NETWORK LEGAL SUPPORT -                              1                   30.00
Amended notice of related cases per C. Solano
Filing fee - - GLOBAL NETWORK LEGAL SUPPORT - Case                         1                   25.00
managment statement per C. Solano
Filing fee - - GLOBAL NETWORK LEGAL SUPPORT -                              1                   30.00
Notice of related case per C. Solano
Filing fee - - GLOBAL NETWORK LEGAL SUPPORT -                              1                   15.00
Notice of related case per C. Solano
Filing fee - - GLOBAL NETWORK LEGAL SUPPORT -                              1                   30.00
Notice of related case per C. Solano
Lexis-Nexis (billed at cost) computerized legal research                   1                   50.00
04/20/11 per J. Glasser
Lexis-Nexis (billed at cost) computerized legal research                   1                   76.00
04/20/11 per J. Glasser
Lexis-Nexis (billed at cost) computerized legal research                   1              112.50
04/20/11 per J. Glasser
Lexis-Nexis (billed at cost) computerized legal research                   1                   21.75
04/20/11 per J. Glasser
Outside delivery service - - US LEGAL MANAGEMENT                           1                   87.50
SERVICES INC - 4/12/11 DWT from Medical Board of CA
per C. Solano
Outside delivery service - - APEX ATTORNEY SERVICES                        1                   22.00
INC - 4/7/11 Stuart Pfeifer per G. Pasquale
Outside search service - - GLOBAL NETWORK LEGAL                            1              436.50
SUPPORT - OCSC per C. Solano
                 Total Current Disbursements                                           $2,093.83




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                                                                                        1201 Third Avenue
                                                                                        Seattle, WA 98101-3045

                                                                                        206.622.3150 tel
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                    TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                          $15,136.50
                          Less Agreed Discount                              (1,513.65)
                          Adjusted Current Services                         13,622.85
                          Total Current Disbursements                         2,093.83
                                                                         ----------------

                          Total Current Invoice                           $15,716.68




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour       Bill Amount
Partner
      Sager, K.                                                10.30                522.00           5,376.60
                                                          ------------                          ---------------
         Total                                                 10.30                                 5,376.60
Associate
      Glasser, J.                                              22.10                292.50           6,464.25
      Kohn, L.                                                   4.70               270.00          1,269.00
                                                          ------------                          ---------------
         Total                                                 26.80                                 7,733.25
Paralegal
      Gonzaque-Taylor, W.                                        0.50               171.00              85.50
      Roth, K.                                                   3.80               112.50             427.50
                                                          ------------                          ---------------
         Total                                                   4.30                                  513.00
                                                          ------------                          ---------------
      Total All Classes                                        41.40                              $13,622.85




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                                                                           Seattle, WA 98101-3045

                                                                           206.622.3150 tel
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                                   STATEMENT OF ACCOUNT
Balance from Previous Statement                                          $35,867.65

Current Invoice                                                          $15,716.68

                                                                    ---------------------
Total Balance Due This Matter                                             $51,584.33




                                  PLEASE REMIT WITH PAYMENT
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                                                                             402200
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                                                                            1201 Third Avenue
                                                                            Seattle, WA 98101-3045

                                                                            206.622.3150 tel
                                                                            206.757.7700 fax

                                                                            Federal ID #XX-XXXXXXX




Los Angeles Times Communications LLC                                June 30, 2011
Attn: Karlene W. Goller, Esq.                                       Invoice No. 5985880
Vice President and Deputy General Counsel
145 S. Spring Street, 3rd Floor
Los Angeles, CA 90012



                                JUNE INVOICE FOR
_________________________         STATEMENT OF       ________________________
                          SERVICES AND DISBURSEMENTS

Matter No.:             0026175-000391
Omidi-Pfeifer

DATE       PROFESSIONAL             TIME DESCRIPTION OF SERVICES
05/02/11   K. Sager                   0.30 Communicate with clients regarding answer (.2);
                                           communicate with L. Kohn regarding finalizing answer
                                           (.1)
05/02/11   L. Kohn                    0.40 Finalize answer to complaint
05/04/11   K. Sager                   0.40 Finalize E-mail to R. Silverman and communicate with
                                           clients and team regarding same (.3); communicate
                                           with S. Wellman and S. Miller (.1)
05/04/11   K. Sager                   0.30 Review R. Silverman correction demand (4/14/2011
                                           article) and communicate with Ms. Goller and team
                                           regarding same
05/14/11   K. Sager                   0.10 Communicate with L. Kohn regarding SLAPP motion
05/17/11   L. Kohn                    4.50 Revise special motion to strike
05/18/11   L. Kohn                    2.60 Revise special motion to strike
05/21/11   K. Sager                   0.30 Review and revise SLAPP Motion
05/22/11   K. Sager                   2.70 Review and revise SLAPP motion and review related
                                           materials (2.5); communicate with clients and team
                                           regarding same (.2)
05/24/11   J. Glasser                 5.20 Draft request for judicial notice and Glasser
                                           declaration, revise SLAPP motion, and assemble and
                                           prepare supporting exhibits
05/25/11   K. Sager                   0.10 Communicate with J. Glasser and L. Kohn regarding
                                           SLAPP motion
05/25/11   K. Roth                    3.80 Cite check SLAPP Motion per J. Glasser ; begin

                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
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                                                                                1201 Third Avenue
                                                                                Seattle, WA 98101-3045

                                                                                206.622.3150 tel
                                                                                206.757.7700 fax

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DATE       PROFESSIONAL              TIME DESCRIPTION OF SERVICES
                                            preparing Appendix of Non-California Authorities
05/26/11   L. Kohn                     0.50 Review retraction demand from Mr. Robert Silverman
                                            on behalf of New Life Surgery Center and
                                            correspondence from Ms. Karlene Goller, Mr. Stuart
                                            Pfeifer, and K. Sager regarding same
05/27/11   J. Glasser                  4.70 Call with Ms. Goller regarding Julian Omidi SLAPP
                                            motion (.3); finalize SLAPP motion, Request for
                                            Judicial Notice, Glasser declaration, prepare exhibits,
                                            and related correspondence with Ms. Goller and K.
                                            Sager (4.4)
05/27/11   K. Roth                     0.30 Continue preparation of Appendix of Non-California
                                            Authorities
           Total Hours Worked         26.20



                                    DISBURSEMENT DETAIL

DESCRIPTION                                                        QUANTITY              AMOUNT
Photocopy Charges                                                      2,061               103.05
Filing fee - - GLOBAL NETWORK LEGAL SUPPORT -                              1               815.00
Answer to complaint per C. Solano
Filing fee - - GLOBAL NETWORK LEGAL SUPPORT -                                  1                   15.00
Notice of related case per C. Solano
Lexis-Nexis (billed at cost) computerized legal research                       1                   12.50
04/25/11 per J. Glasser
Lexis-Nexis (billed at cost) computerized legal research                       1                   56.00
04/25/11 per J. Glasser
                 Total Current Disbursements                                               $1,001.55




                                 PLEASE REMIT WITH PAYMENT
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                                                                                        Seattle, WA 98101-3045

                                                                                        206.622.3150 tel
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                    TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE

                          Total Current Services                            $8,566.00
                          Less Agreed Discount                                (856.60)
                          Adjusted Current Services                          7,709.40
                          Total Current Disbursements                         1,001.55
                                                                         ----------------

                          Total Current Invoice                             $8,710.95




                                   SUMMARY BY PROFESSIONAL

Professional                                          Hours Worked       Billed Per Hour       Bill Amount
Partner
      Sager, K.                                                  4.20               522.00           2,192.40
                                                          ------------                          ---------------
         Total                                                   4.20                                2,192.40
Associate
      Glasser, J.                                                9.90               292.50           2,895.75
      Kohn, L.                                                   8.00               270.00          2,160.00
                                                          ------------                          ---------------
         Total                                                 17.90                                 5,055.75
Paralegal
      Roth, K.                                                   4.10               112.50             461.25
                                                          ------------                          ---------------
         Total                                                   4.10                                  461.25
                                                          ------------                          ---------------
      Total All Classes                                        26.20                               $7,709.40




                                   PLEASE REMIT WITH PAYMENT
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                                                                           Seattle, WA 98101-3045

                                                                           206.622.3150 tel
                                                                           206.757.7700 fax

                                                                           Federal ID #XX-XXXXXXX




                                   STATEMENT OF ACCOUNT
Balance from Previous Statement                                          $13,391.10

Current Invoice                                                            $8,710.95

                                                                    ---------------------
Total Balance Due This Matter                                             $22,102.05




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                                                                                1201 Third Avenue
                                                                                Seattle, WA 98101-3045

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                                                                                206.757.7700 fax

                                                                                Federal ID #XX-XXXXXXX




Karlene W. Goller, VP & Deputy General Counsel                          July 29, 2011
Tribune Company                                                         Invoice No. 5996080
202 W. 1st Street
Los Angeles, CA 90012



                                     JULY INVOICE FOR
_________________________              STATEMENT OF       ________________________
                               SERVICES AND DISBURSEMENTS

Matter No.          0041033-000021
Alberghetti v. Corbis Amicus Effort



DATE       PROFESSIONAL               TIME DESCRIPTION OF SERVICES
05/23/11   J. Rosenfeld                 0.60 Review lower court papers, communications;
                                             telephone call with T. Burke and A. Duran regarding
                                             gathering amici
05/23/11   A. Doran                     0.10 Consider strategy on amicus brief
05/25/11   J. Rosenfeld                 1.20 Telephone call with Corbis' attorneys, T. Burke and A.
                                             Doran regarding amicus brief
05/25/11   A. Doran                     1.10 Telephone conference with Fenwick attorneys, T.
                                             Burke, and J. Rosenfeld regarding content of amicus
                                             brief
05/26/11   T. Burke                     2.10 Analysis of previous briefings and background
                                             materials to assist with media amici brief
05/26/11   J. Rosenfeld                 1.50 Emails with amici, T. Burke and A. Doran regarding
                                             brief
05/26/11   A. Doran                     3.60 Review pleadings and order from district court; review
                                             cases on copyright preemption of right of publicity
                                             claims
05/26/11   F. Hanson                    0.20 Obtain copy of declaration from case A. Doran
05/27/11   T. Burke                     3.40 Further review background materials in support of
                                             media amici brief
05/27/11   J. Rosenfeld                 0.80 Emails/telephone call with Ms. Doran regarding


                     PAYMENT IS DUE WITHIN 30 DAYS OF THE DATE OF THIS INVOICE
               INTEREST WILL BE CHARGED ON INVOICES WHICH ARE 45 DAYS PAST DUE
   PAYMENTS RECEIVED AFTER THE DATE OF THIS INVOICE WILL BE REFLECTED ON NEXT MONTH’S BILLING
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                                                                        Seattle, WA 98101-3045

                                                                        206.622.3150 tel
                                                                        206.757.7700 fax

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DATE       PROFESSIONAL        TIME DESCRIPTION OF SERVICES
                                      licensing of images; email to Mr. Pulgram and Ms.
                                      Fritz regarding analogous trademark case
05/27/11   A. Doran              0.20 Telephone conference with J. Rosenfeld; instruct
                                      librarian on finding relevant secondary materials
05/30/11   A. Doran              3.10 Continue to draft amicus brief
05/31/11   J. Rosenfeld          1.00 Communications with amici, T. Burke and A. Doran
05/31/11   A. Doran              6.00 Continue to draft amicus brief
06/01/11   T. Burke              1.20 Further exchange of communications regarding
                                      strategy issues for arguments in media amici
06/01/11   B. Johnson            0.10 Review right of publicity citations for amicus brief
06/01/11   J. Rosenfeld          2.10 Communications with T. Burke, A. Doran, Washington
                                      Post and Time regarding amicus brief; conference call
                                      with Ms. Malone of AP
06/01/11   A. Doran              9.10 Complete draft of amicus brief
06/02/11   T. Burke              1.30 Provide further direction to A. Doran regarding
                                      arguments in the draft brief and accommodating
                                      strategic revisions suggested by DWT clients
06/02/11   J. Rosenfeld          3.50 Conference call with Ms. Vaughan and A. Doran;
                                      various calls and emails with T. Burke and A. Doran
                                      regarding brief
06/02/11   A. Doran              6.90 Revise draft amicus brief; review Ninth Circuit rules
                                      on same; telephone conference with Ms. Vaughan and
                                      J. Rosenfeld regarding approach to brief; exchange
                                      emails with Ms. Vaughan regarding Corbis's decision
                                      to file cross-appeal; exchange emails with Corbis's
                                      counsel regarding same; telephone conferences with J.
                                      Rosenfeld regarding same
06/03/11   T. Burke              1.90 Provide further direction and proposed global edits to
                                      Reply brief; further review and edit draft amici brief
                                      and circulate draft to amici and prospective amici
06/03/11   J. Rosenfeld          4.80 Review prior briefs and decisions; revise draft amicus
                                      brief; various calls with A. Doran and emails with A.
                                      Doran and T. Burke regarding same; emails with Mr.
                                      Birenz regarding brief
06/03/11   A. Doran              4.60 Draft portion of amicus brief on commercial use
06/04/11   T. Burke              1.30 Further review and edit draft media amici brief and
                                      circulate to clients; follow-up exchange of
                                      communications with clients regarding same
06/04/11   A. Doran              1.00 Revise brief and images for use
06/05/11   A. Doran              0.10 Revise brief
06/06/11   T. Burke              0.60 Further respond to strategy issues regarding DWT's
                          PLEASE REMIT WITH PAYMENT
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                                                                          1201 Third Avenue
                                                                          Seattle, WA 98101-3045

                                                                          206.622.3150 tel
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DATE       PROFESSIONAL        TIME DESCRIPTION OF SERVICES
                                      draft amici brief
06/06/11   J. Rosenfeld          3.40 Communications with T. Burke, A. Doran and certain
                                      amici regarding brief; communication with Ms. Wolff
                                      regarding PACA amicus brief and review of PACA
                                      brief in James Brown case for same; telephone call
                                      with T. Burke regarding same
06/06/11   A. Doran              0.70 Exchange emails with J. Rosenfeld and T. Burke
                                      regarding brief; draft application to file amicus brief;
                                      revise amicus brief to reflect client comments
06/07/11   T. Burke              2.20 Review and approve amici's request for permission to
                                      file in the Ninth Circuit; further communications with
                                      amici members regarding further edits
06/07/11   J. Rosenfeld          1.50 Communications regarding brief with amici; review
                                      revisions
06/07/11   A. Doran              0.80 Revise motion to file amicus brief
06/08/11   T. Burke              2.10 Further review and edit amici brief and attention to
                                      further amici feedback
06/08/11   J. Rosenfeld          2.50 Calls/emails with T. Burke, A. Doran, various amici
                                      regarding various revisions to brief; review motion to
                                      submit amicus brief; emails with Ms. Wolff regarding
                                      PACA amicus brief
06/08/11   A. Doran              1.20 Revise amicus brief and application for leave to file
                                      amicus brief
06/09/11   T. Burke              2.10 Further review and approve additional edits from
                                      clients
06/09/11   J. Rosenfeld          1.70 Calls/emails with T. Burke, A. Doran, various amici
                                      regarding final revisions to brief
06/09/11   A. Doran              2.40 Revise amicus brief to reflect client suggestions; check
                                      citations in brief to be sure the cases have not been
                                      overturned; input images into brief and instruct word
                                      processing on formatting; telephone conference with
                                      Ninth Circuit clerk regarding filing procedures
06/09/11   J. Cygnor             1.10 Cite check amicus curiae brief
06/09/11   B. Masterson          0.20 Run WestCheck on cases cited in amicus brief - for A.
                                      Duran
06/10/11   T. Burke              1.30 Final exchange of communications with clients
                                      regarding final edits and comments on brief to be filed
06/10/11   J. Rosenfeld          2.00 Communications with A. Doran, Ms. Thiebault of AFP
                                      regarding revisions; final revisions to brief; telephone
                                      call with A. Doran regarding same
06/10/11   A. Doran              2.70 Revise brief and finalize for filing
                          PLEASE REMIT WITH PAYMENT
             Case 08-13141-BLS           Doc 10212-2        Filed 11/11/11        PageSuite
                                                                                        472200
                                                                                            of 48
                                                                                           1201 Third Avenue
                                                                                           Seattle, WA 98101-3045

                                                                                           206.622.3150 tel
                                                                                           206.757.7700 fax

                                                                                           Federal ID #XX-XXXXXXX




DATE         PROFESSIONAL                TIME DESCRIPTION OF SERVICES
06/13/11     A. Doran                      0.30 Review rules regarding word count and certificate of
                                                compliance
06/14/11     A. Doran                      0.20 Arrange for copies of brief to be sent to clients
06/15/11     A. Doran                      0.10 Coordinate sending of amici briefs to clients
             Total Hours                  91.90



                                        DISBURSEMENT DETAIL

DESCRIPTION                                                              QUANTITY                   AMOUNT
                    Total Current Disbursements                                                           332.89



                     TOTAL SERVICES AND DISBURSEMENTS - THIS INVOICE
                           Total Current Services                          $38,816.00
                           Total Current Disbursements                          332.89
                                                                         ---------------
                           Total Current Invoice                           $37,414.25

                           Your Portion of Amount Due at 8.33%              $3,234.64
                           Less Courtesy Discount                          $(1,734.64)
                           Adjusted Current Invoice                         $1,500.00



                                    SUMMARY BY PROFESSIONAL

Professional                                        Hours Worked        Billed Per Hour              Bill Amount
Partner
   B. Johnson                                                  0.10              560.00                      56.00
   J. Rosenfeld                                               26.60              480.00                 12,768.00
   T. Burke                                                   19.50              545.00                 10,627.50
                                                         ------------                                  -------------
            Total                                             46.20                                     23,451.50
Associate

                                    PLEASE REMIT WITH PAYMENT
          Case 08-13141-BLS        Doc 10212-2   Filed 11/11/11   PageSuite
                                                                        482200
                                                                            of 48
                                                                      1201 Third Avenue
                                                                      Seattle, WA 98101-3045

                                                                      206.622.3150 tel
                                                                      206.757.7700 fax

                                                                      Federal ID #XX-XXXXXXX




   A. Doran                                       44.20           340.00           15,028.00
                                             ------------                         -------------
         Total                                    44.20                            15,028.00
Paralegal
   J. Cygnor                                       1.10           235.00               258.50
                                             ------------                         -------------
         Total                                     1.10                                258.50
Other
   B. Masterson                                    0.20           195.00                39.00
   F. Hanson                                       0.20           195.00                39.00
                                             ------------                         -------------
         Total                                     0.40                                  78.00
                                             ------------                         -------------
    Total All Classes                             91.90                           $38,816.00



                                 STATEMENT OF ACCOUNT

Current Invoice                                                                  $1,500.00


Total Balance Due This Matter                                                    $1,500.00




                                PLEASE REMIT WITH PAYMENT
